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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 16-1332V
                                    Filed: January 24, 2017
                                        UNPUBLISHED

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MICHELE M. PHILLIPS,                      *
                                          *
                     Petitioner,          *     Ruling on Entitlement; Concession;
v.                                        *     Influenza (“Flu”) Vaccine; Shoulder
                                          *     Injury Related to Vaccine Administration
SECRETARY OF HEALTH                       *     (“SIRVA”); Special Processing Unit
AND HUMAN SERVICES,                       *     (“SPU”)
                                          *
                     Respondent.          *
                                          *
****************************
Michael Elio Ciccolini, Ciccolini & Associates Co., LPA, Akron, OH, for petitioner.
Douglas Ross, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT1

Dorsey, Chief Special Master:

        On October 13, 2016, Michele M. Phillips (“petitioner”) filed a petition for
compensation under the National Vaccine Injury Compensation Program, 42 U.S.C.
§300aa-10, et seq.,2 (the “Vaccine Act”). Petitioner alleges that she suffered a shoulder
injury related to vaccine administration (“SIRVA”), including bursitis and a rotator cuff
tear in her right shoulder as a result of being administered an influenza (“flu”) on
October 25, 2013. Petition at 1. The case was assigned to the Special Processing Unit
of the Office of Special Masters.

        On January 24, 2017, respondent filed her Rule 4(c) report in which she
concedes that petitioner is entitled to compensation in this case. Respondent’s Rule
4(c) Report at 1. Specifically, respondent states that “petitioner suffered a non-Table
injury of SIRVA and that the preponderance of the medical evidence indicates that the
injury was causally related to the flu vaccine she received on October 25, 2013.” Id. at

1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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4. Respondent further agrees that no other “causes for petitioner’s SIRVA” were
identified and that “petitioner met the statutory requirements by suffering her condition
for more than six months”. Id.

     In view of respondent’s concession and the evidence before me, the
undersigned finds that petitioner is entitled to compensation.

IT IS SO ORDERED.

                                   s/Nora Beth Dorsey
                                   Nora Beth Dorsey
                                   Chief Special Master




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